            Case 1:21-cr-00176-CJN Document 59 Filed 04/05/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Criminal No. 21-CR-176-CJN
                                             :
STEVE OMAR MALDONADO,                        :
                                             :
                      Defendant.             :


     JOINT MOTION TO ADOPT PROPOSED PRETRIAL SCHEDULING ORDER

       The United States, by and through its attorney, and Defendant, by and through his attorney,

(collectively, “the Parties”), respectfully submit this motion to adopt the attached Pretrial

Scheduling Order, for the trial set to commence July 10, 2023, and state as follows:

       1. The Parties shall file any Pretrial Motions by May 12, 2023, and any responses to those

            Pretrial Motions by May 26, 2023.

       2. The Parties shall file Legal Instructions by June 21, 2023.

       3. The Parties shall file any stipulations by July 1, 2023.

       4. The Parties shall provide witness and exhibit lists by July 1, 2023.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052

                                     By:     /s/ Victoria A. Sheets
                                             VICTORIA A. SHEETS
                                             Assistant United States Attorney
                                             NY Bar No. 5548623
                                             601 D Street NW
                                             District of Columbia, DC 20530
                                             (202) 252-7566
Case 1:21-cr-00176-CJN Document 59 Filed 04/05/23 Page 2 of 2




                           victoria.sheets@usdoj.gov

                           A. J. Kramer
                           Federal Public Defender

                           ________/s/_______
                           Elizabeth Mullin
                           Assistant Federal Public Defender
                           625 Indiana Ave NW, Suite 550
                           Washington, D.C. 20004
                           (202) 208-7500
                           Elizabeth_mullin@fd.org




                              2
